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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


                                                      )
JOHN DOE, et al.,                                     )
                                                      )
                       Plaintiffs,                    )
                                                      )
               v.                                     )       Civil Action No. 15-10790-DJC
                                                      )
TRUSTEES OF BOSTON COLLEGE, et al.,                   )
                                                      )
                       Defendants.                    )
                                                      )

                JOINT PROPOSED PRETRIAL AND TRIAL SCHEDULE
                PURSUANT TO COURT’S SEPTEMBER 28, 2018 ORDER

   Pursuant to the Court’s September 28, 2018 order (Dkt. 105), counsel for the respective

parties have conferred and propose the following pretrial and trial schedule:

   1. After consultation with the Courtroom Clerk, counsel understand that (a) trial shall begin

on April 22, 2019; and (b) the Court’s daily trial schedule is 9:00 a.m. to 1:00 p.m., Monday

through Friday. Under this schedule, counsel estimate that this trial will require 7-10 trial days,

depending on the rulings on pretrial motions.

   2. The parties have significant differences relating to the scope of the trial and the evidence

that may be introduced at trial, including, but not limited to, (a) the fact witness testimony that

may be introduced on liability; (b) whether plaintiffs will be permitted to introduce expert

testimony on liability; and (c) the available categories of damages. The parties believe that early

resolution of these core issues is in the interest of judicial economy and will substantially benefit

both the Court and the parties. The proposed schedule below provides for briefing of these core

issues in February 2019, and a hearing on March 7, 2019, with the hope that these core issues

can be resolved on that day or shortly thereafter, approximately six weeks in advance of the
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April 22, 2019 trial date. The schedule also provides for the briefing of additional pretrial

motions closer to the trial date and argument on those motions at an April 8, 2019 final pretrial

conference.

   3. Counsel propose the following pretrial schedule:

              November 30, 2018      deadline for plaintiffs to disclose their
                                     substitute expert witness and serve
                                     supplemental expert reports, if any

              December 31, 2018      deadline for defendants to serve
                                     supplemental expert reports, if any

              February 15, 2019      deadline for plaintiffs to file their
                                     memorandum relating to scope-of-trial
                                     issues

              February 25, 2019      deadline for defendants to file their
                                     memorandum relating to scope-of-trial
                                     issues

              February 28, 2019      deadline for completing expert depositions

              March 7, 2019          hearing on scope-of-trial issues

              March 15, 2019         deadline for filing additional pretrial
                                     motions

              March 25, 2019         deadline for filing oppositions to additional
                                     pretrial motions

              April 8, 2019          final pretrial conference in accordance with
                                     Local Rule 16.5 and oral argument on any
                                     remaining pretrial motions




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                                             Respectfully submitted,

Trustees of Boston College, Paul J. Chebator, John Doe, Mary Doe, and James Doe
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Patrick J. Keating, and Barbara Jones         By their attorneys,

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By their attorneys,
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/s/ Daryl J. Lapp
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of October, 2018, a copy of the foregoing was served

by electronic mail using the CM/ECF System, which will then send notification of such filing to

all counsel of record.



                                                    /s/ Charles B. Wayne
                                                    Charles B. Wayne
